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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                         *
                                                  *
                   v.                             *
                                                  * CRIMINAL NO. ELH-20-0361
 JAMES IAN PICCIRILLI and                         *
 KELLIE NICOLE WARFIELD,                          *
                                                  *
          Defendants.                             *
                                                  *
                                               *******

                                               ORDER

         The Court finds, upon the Government’s Consent Motion to Exclude Time Under the

Speedy Trial Act, that under 18 U.S.C. § 3161(h), the interests of justice will be served by

continuing the trial date beyond the speedy trial date and that the ends of justice served by such a

delay in the trial of this case outweigh the interests of the public and the Defendants in a speedy

trial, in that:

         a.       The failure to grant this request in this proceeding would be likely to result in a

miscarriage of justice;

         b.       The requested exclusion of time would account for the period that COVID-19 is

anticipated to either delay trial or impair defense counsel’s communications with the Defendants,

which may affect the parties’ ability to reach an agreement; it would account for the fact that

criminal jury trials were suspended in the District of Maryland between March 2020 and

August 2020, then again, effectively, between November 2020 and February 2021 due to the

COVID-19 pandemic; it would allow the parties sufficient time to engage in discussions regarding

a disposition or prepare for trial; and

         c.       The failure to set trial beyond the speedy trial date in this proceeding would deny
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counsel for the Defendants and the attorneys for the Government the reasonable time necessary

for effective preparation, taking into account the exercise of due diligence.

        THEREFORE, it is hereby ORDERED, this _____ day of _________________, 2021,

that:

        1.     The Government’s Consent Motion is GRANTED; and

        2.     The period from January 31, 2021, to April 12, 2021, shall be excluded from

calculation under the Speedy Trial Act.



                                                  _______________________________________
                                                  ELLEN L. HOLLANDER
                                                  UNITED STATES DISTRICT JUDGE




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